                                 UNITED STATES DISTRICT COURT
                                  NORTHERN DISTRICT OF IOWA
                                    CEDAR RAPIDS DIVISION

UNITED STATES OF AMERICA,                                      )
                                                               )
                              Plaintiff,                       )   Case No. CR06-0053
                                                               )
         v.                                                    )   DEFENDANT’S SENTENCING
                                                               )   MEMORANDUM
JAHMAL GREEN,                                                  )
                                                               )
                              Defendant.                       )

                   Defendant Jahmal Green appears by counsel and submits the following

Sentencing Memorandum:

                                                   WITNESSES

                   None.

                                                     EXHIBITS

                   None.

                                             GUIDELINE ISSUES

                   None.

                                                                   Respectfully submitted,

                                                                          /s/ David E. Mullin
                                                                   David E. Mullin
                   CERTIFICATE OF SERVICE                          MULLIN & LAVERTY, LC
  The undersigned certifies that a copy of this document was
  served on January 17, 2007 on each of the parties or their       1636 42nd Street NE
  attorneys at their addresses of record by:                       Cedar Rapids, Iowa 52402
      • U.S. Mail/ECF • Fax • Hand-Delivery                        Phone: (319) 395-9191
                                                                   Fax:     (319) 395-9192
               /s/ David E. Mullin                                 E-mail: dmullin@mullinlaverty.com

                                                                   ATTORNEYS FOR DEFENDANT
                                                                   JAHMAL GREEN
cc:      Jahmal Green
         AUSA Patrick J. Reinert
         USPO Brian Draves



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